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                          UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF TEXAS
                               SHERMAN DIVISION

  STATE OF TEXAS                              §       CIVIL NO. 4:24-CV-499-SDJ
                                              §              LEAD CASE
                                              §
  PLANO CHAMBER OF                            §       CIVIL NO. 4:24-CV-468-SDJ
  COMMERCE, ET AL.                            §
                                              §
  v.                                          §
  UNITED STATES DEPARTMENT                    §
  OF LABOR, ET AL.                            §

                                  FINAL JUDGMENT

        For the reasons set forth in the Court’s Memorandum Opinion and Order on

 this date, (Dkt. #76), it is ORDERED, ADJUDGED, and DECREED that Plaintiffs’

 Motions for Summary Judgment, (Dkt. #46, #48), are GRANTED. Defendants’ Cross-

 Motion for Summary Judgment, (Dkt. #57), is DENIED. The Court thus enters Final

 Judgment in favor of Plaintiffs, the State of Texas and the coalition of trade

 associations    and     employers      (“Business     Organizations”)1,     and    against

 Defendants, United States Department of Labor, The Wage and Hour Division of the

 Department of Labor, Julie Su, and Jessica Looman in their official capacities.




        1 This group of Plaintiffs includes Plano Chamber of Commerce, American Hotel and

 Lodging Association, Associated Builders and Contractors, International Franchise
 Association, National Association of Convenience Stores, National Association of Home
 Builders, National Association of Wholesaler-Distributors, National Federation of
 Independent Business, Inc., National Retail Federation, Restaurant Law Center, Texas
 Restaurant Association (collectively, the “trade associations”), Cooper General Contractors,
 and DASE Blinds.

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       It is further ORDERED, ADJUDGED, and DECREED that:

          1. Final Judgment is entered in favor of the State of Texas on Count I in

              the Complaint in Cause Number 4:24-cv-499. (Dkt. #1 at ¶¶ 342–348).

              Final Judgment is also entered for the Business Organizations on

              Counts I–II in the Complaint in Cause Number 4:24-cv-468 (Dkt. #1 at

              ¶¶ 47–61).

          2. The Court does not reach the State of Texas’s Counts II–VI in the

              Complaint in Cause Number 4:24-cv-499 (Dkt. #1 at ¶¶ 349–372). Nor

              does the Court reach the Business Organizations’ Count III in the

              Complaint in Cause Number 4:24-cv-468 (Dkt. #1 at ¶¶ 62–68).

          3. The Court VACATES and SETS ASIDE, in its entirety, the

              Department of Labor’s Final Rule “Defining and Delimiting the
          .
              Exemptions for Executive, Administrative, Professional, Outside Sales,

              and Computer Employees, 89 Fed. Reg. 32842 (Apr. 26, 2024) (codified

              at 29 C.F.R. §§ 541.0–541.710). The Court remands this matter to the

              Secretary of Labor for further consideration.

          4. The Court DENIES all other requested relief. Any pending motions are

              DENIED as MOOT.

          5. The Clerk is directed to close these consolidated actions.

              So ORDERED and SIGNED this 15th day of November, 2024.




                                                            ____________________________________
                                                            SEAN D. JORDAN
                                                            UNITED STATES DISTRICT JUDGE
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